                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                   GREENEVILLE DIVISION

  UNITED STATES OF AMERICA,                         )
                                                    )
                 Plaintiff,                         )                    2:20-CR-65
                                                    )
         vs.                                        )
                                                    )
  EMORY JACKSON,                                    )
                                                    )
                 Defendant.                         )
                                                    )
                                                    )

                                              ORDER

        The Court previously entered an Order continuing the trial in this matter to May 11, 2021.

 [Doc. 79]. In doing so, the Court provided a deadline for special jury instructions which the Court

 has identified as a scrivener’s error. Specifically, the previous Order stated requests for special

 jury instructions were due April 13, 2021. The following deadline is modified by this Order:

                                    Modified Scheduling Date

  Requests for Special Jury Instructions                          5 days before trial



 All dates not expressly modified by the Order shall remain in full effect.

        SO ORDERED:

                                                        s/Cynthia Richardson Wyrick
                                                        United States Magistrate Judge




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